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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:14CR3033
      vs.
                                                                 ORDER
TALEB S. KHALAF,
                    Defendant.



      Defendant has moved to continue defendant’s status hearing. (Filing No. 27). As
explained by counsel, the parties need additional time to engage in plea discussions. The
motion to continue is unopposed. Based on the representations of counsel, the court finds
the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant’s motion to continue, (filing no. 27), is granted.

      2)     The defendant's status/plea hearing will be held before the undersigned
             magistrate judge on July 31, 2015 at 10:00 a.m.. The defendant is ordered
             to appear at this hearing.

      3)     For the reasons stated by counsel, the Court finds that the ends of justice
             served by continuing defendant's plea hearing outweigh the best interest of
             the defendant and the public in a speedy trial. Accordingly, the time
             between today's date and the district court judge's acceptance or rejection of
             the anticipated plea of guilty shall be excluded for speedy trial calculation
             purposes. 18 U.S.C. § 3161(h)(7).

      June 18, 2015.


                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
